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                           UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF MICHIGAN


In re:                                                      Case No. DL-15-05375
         JILL A MALUSEK
         JOHN J MALUSEK
                  Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Barbara P. Foley, chapter 13 trustee, submits the following Final Report and Account of
the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 09/30/2015.

         2) The plan was confirmed on 02/04/2016.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
06/30/2016, 03/14/2017.

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was completed on 07/31/2018.

         6) Number of months from filing to last payment: 34.

         7) Number of months case was pending: 36.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $37,113.83.

         10) Amount of unsecured claims discharged without payment: $1,543.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

       Total paid by or on behalf of the debtor               $146,729.88
       Less amount refunded to debtor                           $1,350.99

NET RECEIPTS:                                                                                $145,378.89


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                              $1,200.00
    Court Costs                                                            $0.00
    Trustee Expenses & Compensation                                   $10,910.76
    Other                                                                  $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                              $12,110.76

Attorney fees paid and disclosed by debtor:                  $2,000.00


Scheduled Creditors:
Creditor                                        Claim         Claim         Claim        Principal       Int.
Name                               Class      Scheduled      Asserted      Allowed         Paid         Paid
AMERICREDIT FINANCIAL SERV     Secured          10,908.00     10,994.60     10,994.60      10,994.60    2,077.96
BANK OF AMERICA                Unsecured         2,944.00       2,906.44      2,906.44      2,906.44       67.76
BECKET & LEE LLP               Unsecured         1,913.00       1,892.69      1,892.69      1,892.69       44.24
COMENITY CAPITAL BANK/PAYPAL   Unsecured         3,106.00       3,106.00      3,052.97      3,052.97       72.47
JOURNEY CREDIT UNION           Unsecured            109.00           NA            NA            0.00        0.00
JOURNEY FEDERAL CREDIT UNION   Secured           5,806.00       5,805.61      5,401.96      5,401.96      844.37
JOURNEY FEDERAL CREDIT UNION   Unsecured         4,749.00       4,748.76      4,748.76      4,748.76      110.88
JOURNEY FEDERAL CREDIT UNION   Unsecured         4,923.00       5,237.87      5,237.87      5,237.87      122.08
JOURNEY FEDERAL CREDIT UNION   Secured                 NA     16,444.00           0.00           0.00        0.00
JOURNEY FEDERAL CREDIT UNION   Secured          16,444.00     17,063.66     16,438.57      16,438.57         0.00
MORTGAGE CENTER LC             Secured          52,248.00     54,247.95     54,247.95            0.00        0.00
MORTGAGE CENTER LC             Secured           4,292.13       3,017.50        595.52        595.52         0.00
MORTGAGE CENTER LC             Secured         139,485.00    140,658.00     45,368.16      45,368.16         0.00
MORTGAGE CENTER LLC            Secured                 NA          49.08         49.08          49.08        0.00
MORTGAGE CENTER LLC            Secured          57,144.00     57,192.76     25,980.15      25,980.15         0.00
MSU FEDERAL CREDIT UNION       Unsecured         4,988.00       4,924.54      4,924.54      4,924.54      114.80
PORTFOLIO RECOVERY ASSOC       Unsecured         1,700.00       1,675.00      1,675.00      1,675.00       39.20
PORTFOLIO RECOVERY ASSOC       Unsecured            497.00        496.58        496.58        496.58       11.48
U.S. BANK (KROGER)             Unsecured         1,434.00            NA            NA            0.00        0.00
WYNDHAM VACATION RESORTS       Secured           9,691.00            NA            NA            0.00        0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                 $142,034.83        $87,786.88              $0.00
       Mortgage Arrearage                                   $644.60           $644.60              $0.00
       Debt Secured by Vehicle                           $16,396.56        $16,396.56          $2,922.33
       All Other Secured                                      $0.00             $0.00              $0.00
 TOTAL SECURED:                                         $159,075.99       $104,828.04          $2,922.33

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00               $0.00            $0.00
        Domestic Support Ongoing                               $0.00               $0.00            $0.00
        All Other Priority                                     $0.00               $0.00            $0.00
 TOTAL PRIORITY:                                               $0.00               $0.00            $0.00

 GENERAL UNSECURED PAYMENTS:                             $24,934.85        $24,934.85            $582.91


Disbursements:

         Expenses of Administration                           $12,110.76
         Disbursements to Creditors                          $133,268.13

TOTAL DISBURSEMENTS :                                                                      $145,378.89


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 10/04/2018                             By:/s/ Barbara P. Foley
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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